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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
               v.                                )
                                                 )
RICHARD W. GATES III,                            )           Crim. No. 17-201-2 (ABJ)
                                                 )
               Defendant.                        )


      DEFENDANT RICHARD W. GATES III’S MOTION TO MODIFY RELEASE
       CONDITIONS FOR LIMITED PURPOSES TO ATTEND FAMILY EVENT
       Richard W. Gates III, by and through counsel, hereby moves this Court for modification

of his release conditions for limited purposes so that he may attend his daughter’s first

competition in a particular event. While Mr. Gates does not intend to seek modification of his

release conditions for every event in which his children participate, he believes this competition

is an especially important event to support. The event is scheduled for this Saturday, December

2, 2017, at a location in Richmond, Virginia about four miles from Mr. Gates’s residence, from

2:00 pm until 6:00 pm. Mr. Gates requests a limited release to attend the event.

       If this Court permits this limited release, Mr. Gates will promptly provide Pre-Trial

Services with specific information about the event, including the time and location.

       Counsel for Mr. Gates conferred with the United States prior to the filing of this motion

and the United States opposes Mr. Gates’s request.
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       WHEREFORE, Mr. Gates hereby respectfully moves this Court for permission to modify

his release conditions as specified above.

                                             Respectfully submitted,


                                             _/s/Shanlon Wu_______________
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